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 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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      OLASEBIKAN N. AKINMULERO,
                                                                NO. C20-1135RSL
 9
                            Plaintiff,

10
                    v.                                          ORDER

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      DEPARTMENT OF HOMELAND
      SECURITY, et al.,
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                            Defendants.
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15          This matter comes before the Court on plaintiff’s request for a settlement conference
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     before the undersigned or a court-appointed moderator. The deadline for a settlement conference
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     between the parties was November 21, 2021. Dkt. # 42 at 1. The conference “requires a
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     face-to-face meeting or a telephone conference between persons with authority to settle the
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20   case,” but does not require a third-party neutral. Dkt. # 42 at 2. In response to plaintiff’s motion,

21   defendants indicate that they are “prepared to confer with Plaintiff in good faith about
22   settlement,” but “do not see the need for a formal conference with judicial oversight or
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     involvement at this time.” Dkt. # 48 at 1.
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            The Court rarely, if ever, gets involved in the settlement negotiations between the parties
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     (beyond requiring that the negotiations occur). If the parties have not already done so, they shall
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27   schedule and conduct a face-to-face or telephonic meeting in the next ten days to discuss

28   ORDER - 1
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 1   plaintiff’s res judicata argument and see if the continuing dispute regarding plaintiff’s I-212
 2   application can be resolved. A certificate of compliance and notice regarding whether the above-
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     captioned matter has settled shall be filed on or before December 10, 2021. If the parties need
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     more time in which to conduct their settlement discussions, they may request an extension of
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 6   these deadlines via a stipulated motion.

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 8          For all of the foregoing reasons, plaintiff’s motion for a court-moderated settlement
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     conference is DENIED.
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            Dated this 29th day of November, 2021.
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                                                Robert S. Lasnik
14                                              United States District Judge

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28   ORDER - 2
